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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
                                            CRIMINAL NUMBER:
           v.
                                            1:18-cr-00032-2-DLF
CONCORD MANAGEMENT AND
CONSULTING LLC,


     Defendant.




       REPLY IN SUPPORT OF DEFENDANT CONCORD MANAGEMENT AND
          CONSULTING LLC’S RENEWED MOTION TO DISMISS
                   COUNT ONE OF THE INDICTMENT
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I.     PRELIMINARY STATEMENT

       The following facts central to Concord’s renewed motion to dismiss for arbitrary

prosecution are not in dispute: (1) there has never been in recorded U.S. history the indictment

of a foreign company with no presence in the United States for a conspiracy to defraud the

United States by posting content on the internet (the government has not identified any such

case); (2) there has never been a criminal case where the prosecutors drafted and published a

report while the case was pending trial concluding that the defendants were guilty (the

government has not identified any such case); (3) the prosecutors purposely charged a § 371

defraud conspiracy in order to circumvent the willfulness burden of proof imposed by the

statutes the conspiracy allegedly aimed to impede—Foreign Agents Registration Act (“FARA”)

and the Federal Election Campaign Act (“FECA”)—because there is no evidence showing

willfulness (the government does not deny this); and (4) had the United States Attorney for the

District of Columbia been the prosecutor presenting this case to the grand jury, based on past

practice, the indictment would have charged that the defendants acted willfully or, in the absence

of any proof of willfulness, the indictment would not have been brought at all (the government

entirely ignores this fact in its entirety). While not disputing any of this, the government

nevertheless responds with the conclusory claim that these facts simply do not sustain Concord’s

due process argument. The government is wrong.

       In its renewed motion to dismiss, Concord argued—for the first time, based on the record

to date—that this prosecution, and other government conduct connected to it, is so arbitrary that

it exceeds what the Due Process Clause can tolerate. Concord also argued that, in light of the

Supreme Court’s recent decision in Rehaif v. United States, 139 S. Ct. 219 (2019) and the

prosecution’s ever-changing theories of liability, the government must charge and show a

heightened level of mens rea in order to prove the defraud conspiracy the grand jury charged
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against Concord. The government’s querulous argument that all of this has been decided before

is factually and legally wrong. Beyond this, the sum and substance of the government’s response

is that Concord has not identified any case like this where the indictment was dismissed on due

process grounds. But the impossibility of meeting the requirement the government advances is

evident from the fact that there has never been a criminal case just like this one.

       To that end, the government’s responsive argument is built on a singularly remarkable,

but indefensible, proposition: that free of any constitutional constraints—due process included—

the government can proceed with an arbitrary prosecution that (i) violates applicable regulations,

policies, and practices, (ii) goes beyond the four corners of the indictment, (iii) rests on a vague

and constantly changing charge whose end and aim is unknown, and (iv) needs no heightened

criminal mental state because there is no case that has ever explicitly said the government can’t

do any of this, and this Court has already said that it can. But this Court has not previously

considered in this case the due process argument Concord makes because it is raised now for the

first time. Case law likewise makes clear that the protections of due process are afforded when

arbitrary government conduct reveals itself, just as it does in this case.

       Moreover, when it comes to whether the facts in this case actually do reveal a due

process violation, the government has nothing of consequence to say—indeed, it makes virtually

no effort to try to show that this prosecution is anything but systemically unjust, unfair, and

unconstitutionally arbitrary. In the government’s words, that just makes it “unusual.” Gov’t

Opp. (ECF 219) at 7. But the government does not deny, because it cannot, that Concord has

been singled out for a first-of-its-kind charge, invoked by a Special Counsel in pursuit of a

declared mission to blame a Russian for the election of the current President. Nor does it cite a

case that says a prosecution shown to be arbitrary because it contravenes established regulations,



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charging practices, ethical principles, and the limitations imposed by an indictment is immune

from a due process attack. No such case exists. And the government does not suggest, again

because it cannot, that such a prosecution can nevertheless proceed where innocent conduct is

threatened with punishment or recognized Fifth and Sixth Amendment principles are plainly put

at risk. Yet that is exactly what is happening here.

       The government’s response to the avowed need for a willfulness mens rea element in the

burden of proof suffers from similar flaws. Its recitation of Rehaif and United States v. Burden,

934 F.3d 675 (D.C. Cir. 2019)—as far as it goes—is disingenuously incomplete. It misses

altogether why the two cases are so relevant now: because they stress the need to ensure, case-

by-case, that innocent conduct is not criminally punished and that lack of knowledge can defeat a

criminal charge where, as in this case, it negates a specific element of the offense. All § 371

defraud conspiracy cases are not fungible and if constitutional considerations, the statutory

scheme, and the particular charge demand it, as they do here, the mens rea burden of proof in a

§ 371 defraud conspiracy case must be calibrated accordingly, just as Rehaif and Burden provide.

       In the end, Concord’s mens rea argument here also stands effectively unrebutted. Simply

put, in a § 371 defraud conspiracy predicated on acts of omission relating to obscure statutes and

regulations purportedly governing foreign actors—where there is a substantial risk that an

arbitrary prosecution is involved and the threat that innocent conduct will be punished and Fifth

or Sixth Amendment rights will be abridged is high—something more is required to make a

defraud conspiracy charge stick. Justice Kavanaugh made that clear in Bluman v. FEC, 800 F.

Supp. 2d 281, 292 (D.D.C. 2011) (and there is no binding case law to the contrary), and the

government cannot evade that requirement simply by facilely pleading around the relevant

substantive statutes. If this is permitted here, the government will be free in any future case to



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negate the mens rea requirements set forth by Congress by simply opting to reframe every case

as a § 371 conspiracy to defraud.        Concord has provided an exhaustive analysis of why,

consistent with Rehaif, Burden and the mens rea principles they are founded on, the government

must be required to plead and prove that Concord was specifically aware of the alleged duties to

the three government agencies it is accused of having conspired to defraud. Nor can the absence

of this standard in the Indictment be cured by jury instructions or a bill of particulars.

       Concord’s renewed motion to dismiss provides the factual and legal compulsion needed

for dismissal. This Court should grant its motion.

II.    ARGUMENT

       A.      The Government’s Prosecution Of Concord Is Unprecedented, Arbitrary,
               And Violates The Due Process Clause.

       Concord’s renewed motion outlines the facts showing the arbitrary manner in which the

government has prosecuted Concord from the very beginning of this case until now. ECF 210 at

4–19. It likewise recites the settled precedents establishing both the Due Process Clause’s core

prohibition on arbitrary government conduct and its unique role among the Bill of Rights’

protections—adapting, as needed, to address unprecedented government intrusions on the right

to be free from arbitrary treatment by the State. Id. at 22–25.

       In its opposition, the government does not dispute the evidence of prosecutorial

arbitrariness Concord lays out. In fact, it ignores completely one of the pillars of Concord’s case

for unconstitutional arbitrariness: the custom and practice in this District of the United States

Attorney’s Office for the District of Columbia (“USAO DC”) charging willfulness in § 371

defraud conspiracy cases, which was abandoned here without explanation by a Special Counsel

inherently driven to indict and convict a Russian—or else face a political and media assault like

no other. ECF 210 at 9–11. This fact alone establishes that Concord was deprived of due


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process and that the grand jury was permitted to indict in the absence of the requisite level of

mens rea. The importance of this cannot be overstated; that is, here, the Special Counsel

engaged in a scheme, now embraced by the United States Attorney and the Department of

Justice, to tortuously construct a charge to survive what they all know to be the complete absence

of any evidence whatsoever that any of the alleged co-conspirators had ever heard of the

government departments and agency in question, let alone knew about the registration and filing

duties the government claims were neglected.

       Instead, the government’s principal contention is that the Court already has heard and

rejected Concord’s due process argument. Gov’t Opp. at 5–7. That is wrong. Concord’s due

process argument is both new—it was not raised before in any motion or other filing—and

properly raised for the first time now—because it rests on the continuously evolving record, up

through the present. The government’s piecemeal treatment of each prior motion and filing

previously submitted also ignores the premise on which Concord’s current argument is built. It

is the unique accumulation of the government’s conduct judged against the strictures of due

process that matters for the resolution of this motion. To be sure, this Court has made a series of

rulings that independently have addressed various legal issues related to several steps in the

alleged conspiracy here. But none of those rulings, individually or collectively, addresses the

due process arguments Concord makes now.

       When it finally gets around to addressing the argument Concord does make, the

government has little to say. It simply states, in conclusory fashion, that Concord fails to show

how the government’s conduct is arbitrary in violation of due process, and that Concord has no

case of its own saying that such conduct rises to the level of such a violation. Govt’ Opp. at 7.

Yet over the course of more than 20 pages of briefing, Concord built its due process argument on



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a series of acts extant in this prosecution. ECF 210 at 4–19, 26–31. Those acts, which are not

disputed, make one thing clear: Concord has been singled out for unique treatment and targeted

by an arbitrary prosecution, one that has no parallel to any other defraud conspiracy ever

initiated.

        As for Concord’s purported failure to cite a case directly on point, that is a non-response

as well.     If the government’s approach was adopted, no new constitutional precedent—

addressing novel fact patterns—could ever occur for the lack of a previous identical case. As the

government itself noted only a few weeks ago, however, “‘[s]ilence by th[e] [Supreme] Court on

a subject is not authority for anything.’” Br. of U.S. at *30–31, United States v. Woodard, No.

19-5009 (10th Cir. Oct. 10, 2019), 2019 WL 5107398 (quoting New York v. United States, 505

U.S. 144, 203 (1992) (White, J., concurring in part and dissenting in part)); see also New York,

505 U.S. at 203 (White, J., concurring in part and dissenting in part) (reasoning that “it should go

without saying that the absence of any on-point precedent from this Court has no bearing on the

question” of what the Constitution means in a given case).

        Beyond that, the constitutional analysis called for here is straightforward. The prosecutor

is a state actor and thus its conduct falls squarely within the ambit of the Due Process Clause.

And due process, by its very nature, is an “as applied” concept, flexible and adaptable to deal

with all manner of arbitrary government conduct that rises to constitutional dimension. The

Constitution, for its part, applies to criminal proceedings, demanding fairness and neutrality and

a freedom from arbitrary prosecution. Finally, many of the cases Concord cites arose on unique

facts. The resolution of those cases turned, as it does here, on the need to protect individuals

from injustice, and it necessitated the “instance-by-instance, case-by-case application of th[e]

[Due Process] [C]lause” that “inheres in the very nature of the judicial enforcement of the …



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Clause.” Kingsley v. Regents of the Univ. of N.Y., 360 U.S. 684, 696 (1959) (Frankfurter, J.,

concurring in the judgment) (further reasoning that the Court “cannot escape such [case-by-case

analyses] in all the varieties of situations that come before” it). That is the basic guarantee the

Clause imparts. ECF 210 at 22–25 (discussing cases); see also Burns v. Wilson, 346 U.S. 137,

142–43 (1953) (plurality op.) (explaining that “the constitutional guarantee of due process is

meaningful enough, and sufficiently adaptable, to protect [individuals] from the crude injustices

of a trial so conducted that it becomes bent on fixing guilt by dispensing with rudimentary

fairness rather than finding truth through adherence to those basic guarantees which have long

been recognized and honored by the … courts”).

       By the same token, the government does not even attempt to provide its own views on

what role the Due Process Clause does or does not play in regulating arbitrary prosecutions—and

does very little to try to rebut Concord’s description of the controlling due process principles that

protect against such prosecutions. The government does not claim, for example, that: (i) the

Due Process Clause plays no role in checking prosecutorial excess or the arbitrary targeting of

defendants for criminal sanction; (ii) that courts have no duty to enforce the Clause against such

prosecutorial overreach; or (iii) that prosecutors are not bound by the Clause’s foundational

prohibition against arbitrary treatment. Nor can it. The Due Process Clause stands as an

essential bulwark against any of the countless forms arbitrary government conduct can take—

and, historically, has taken.

       The fact that Concord has no directly applicable precedent involving prosecutorial

conduct accordingly carries no weight now in the analysis. Courts are “often called upon to

resolve questions of constitutional law not susceptible to the mechanical application of bright

and clear lines[,]” United States v. Lopez, 514 U.S. 549, 579 (1995) (Kennedy, J., concurring),



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especially when they involve the reach of the Due Process Clause, see, e.g., Morrissey v. Brewer,

408 U.S. 471, 481 (1972) (reasoning that the Due Process Clause, by its “very nature, … negates

any concept of rigid procedures universally applicable to every imaginable situation”). And they

must, for “[a]bdication of [this judicial] responsibility is not part of the constitutional design.’”

Kisor v. Wilkie, 139 S. Ct. 2400, 2440 (2019) (Gorsuch, J., concurring in the judgment) (citation

omitted). In this case, settled due process principles establish that the government has crossed

the line separating lawful from arbitrary protections, and this Court should say so.

       B.      The Government’s Attempt To Isolate And Refute The Evidence Of
               Arbitrariness Is Meritless.

       The government recasts Concord’s motion by separating the cumulative evidence

Concord assembles into isolated and discrete parts. Having done so, it claims that none of that

evidence shows conduct in violation of various governing legal principles (but not due process),

and thereby implies—and that’s all the government ultimately does—that there was no due

process violation here.    The government notably does not deny it engaged in the conduct

Concord describes. And its effort at reframing Concord’s motion must fail.

       First, the government’s reframing willfully ignores what the undisputed evidentiary

record is relied on to show—not merely violations of court rules (in the case of the Mueller

Report and the Attorney General’s congressional testimony) or legal doctrines (in the case of the

decision to deviate from the settled custom and practice of the USAO DC and “cloak” an

offense-clause conspiracy in a defraud-clause one), but flagrant arbitrariness in the way the

government has carried out this prosecution, and otherwise treated Concord. Concord is a

criminal defendant entitled to the presumption of innocence, a neutral, disinterested prosecutor,

and a fair process, regardless of the incendiary allegations in the Indictment.

       Second, as noted, there’s a material omission from the government’s opposition. It


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doesn’t even mention, much less offer an explanation for, one of the centerpieces of Concord’s

case for arbitrariness: the fact that, in the decade leading up to the Indictment here, and with rare

(and otherwise explainable and distinguishable) exceptions, the USAO DC consistently charged

willfulness in § 371 defraud conspiracy indictments. So why did the government repeatedly

include willfulness in those indictments, until this case came along? Why did the government

fail to follow in this case its own election-crime and § 371 charging guidelines and practices, or

the holding in Bluman?       Seemingly because the exigencies and political pressures of the

moment, coupled with the vanishingly scant (if any) evidence of any criminal knowledge

whatsoever on the part of Concord, forced the Special Counsel to press the only criminal charge

he could concoct: a single-count, non-willful conspiracy to defraud based on interference with

unspecified government functions. But none of these are constitutionally acceptable reasons for

the prosecutorial choice here—they look, rather clearly, like arbitrary ones.

       Intentionally or not, the government tries to justify its unexplained abandonment of the

USAO DC’s consistent practice with a rhetorical flourish, claiming that, “[e]ven if the

government has not been fully consistent in its position about the defraud clause, it does not

follow that the Due Process Clause forever compels the government to take what it believes to be

an incorrect position, and to do so in contravention of extensive case law holding that willfulness

is not required.” Gov’t Opp. at 12. As for the government’s “forever” claim, that is not remotely

responsive to anything Concord has actually argued. Moreover, instead of addressing this fatal

fact, the government answers in a riddle suggesting that the United States Attorney at this

moment, after the fact, has determined that ten years’ worth of § 371 indictments in this District

preceding this one were wrongly worded.

       If the government has good-faith, legally supportable reasons for shifting dramatically



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from a charging practice reflected in its own formal charging guidelines and practice manual—

documents created for the purpose of guiding and constraining prosecutorial discretion—it may

do so if it acts within constitutional limits. But where the government departs from those

policies to charge, through a special counsel, a never-before-prosecuted defraud conspiracy

against a Russian entity under an obscure statutory scheme, there is reason and justification for

calling the departure from DOJ charging policies or guidelines arbitrary. In this light, and at a

minimum, the Court is bound to consider whether this about-face by the government is evidence

of precisely the sort of arbitrary prosecutorial conduct due process forbids.

          The government’s effort to describe this departure as its “frequent litigating position”

indicating that willfulness is not required, see Gov’t Opp. at 12, does not withstand analysis

either.    Concord’s evidentiary showing establishes the USAO DC’s consistent practice of

charging willfulness in cases like this one. The still-unexplained departure from the customary

approach thus remains. Nor is it sufficient for the government to rely (at 12) on an indictment

handed down in the Southern District of New York two days after Concord filed its renewed

motion to dismiss—which, contrary to the USAO DC’s longstanding practice, but like the

Indictment here, also happens to omit any mention of willfulness. The New York indictment is

quite timely and convenient for the government in this case, much like the after-the-fact

reinterpretation of DOJ charging policies the Special Counsel ginned up in August 2018 during

the litigation of Concord’s previous motion to dismiss. And now the government can argue in

the New York case that this case provides the necessary precedent for the non-willful charge

there.

          As for Concord’s assertion that the Special Counsel’s very appointment reflected

arbitrariness because, as to Concord, it was pretextual and not in line with what the Special



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Counsel Regulations require (ECF 210 at 6–7), the government recycles its prior contention that

the Regulations do not “create judicially enforceable rights.” Gov’t Opp. at 9 (citation and

internal quotation marks omitted). That’s right, they don’t. But that does not mean unjustified

deviations from the Regulations cannot be proof of arbitrary government conduct for

constitutional due process purposes. The Executive Branch cannot immunize itself from the

constitutional scrutiny of an Article III court based on arbitrary violations of regulations simply

by planting a clause in the regulations saying that they do not create judicially enforceable rights.

Courts, not the Executive Branch, are the judges of whether the Executive Branch’s arbitrary

conduct violates due process, as decades (and more) of settled precedent make clear. ECF 210 at

22–25 (discussing cases). Indeed, “[t]he founders afforded” the federal courts the “extraordinary

powers” of judicial review “‘free from potential domination by other branches of government’”

specifically “so that an independent judiciary could better guard the people from the arbitrary

use of governmental power.” Kisor, 139 S. Ct. at 2438 (Gorsuch, J., concurring in the judgment)

(quoting The Federalist No. 81, at 482 (A. Hamilton) (emphasis added)).

       Third, when the government gets to addressing its decision to manufacture a defraud-

clause conspiracy out of an offense-clause conspiracy, the government invokes cases that say the

prosecution has latitude to choose its charge when conduct violates more than one law, and

rebukes Concord for supposedly not explaining how the decision to charge a defraud conspiracy

is arbitrary. Gov’t Opp. at 11. But here again, the government just ignores the facts of this case,

the relevant case law, and what Concord actually argues. While it is true the government has

discretion to choose its charge when multiple laws might support it, that discretion is not

unchecked, as the cases Concord cites make clear. ECF 210 at 24–26, 30 (citing cases). The

government does not deny that it used § 371’s defraud clause as a “cloak” to avoid the



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willfulness mens rea requirement it indisputably would have faced had it brought the more

natural offense-clause charge. United States v. Bridges, 346 U.S. 209, 223–24 (1953). Nor can

it, because it is clear from the facts of this case. The government also does not even try to

show—again because it can’t—that its defraud-clause charge “properly reflect[ed] the essence of

the alleged offense” and did “not involve an attempt by prosecutorial sleight of hand to

overcome” the willfulness burden it would have faced had it charged under § 371’s offense

clause. Dennis v. United States, 384 U.S. 855, 863 (1966).

       Fourth, the government’s attempted rebuttal to the relevance of the Special Counsel and

Attorney General’s various public declarations of guilt is that the Court found them not

“flagrant,” and the two consulted with ethics experts to avoid any rule violations and purportedly

were acting in the public interest. Gov’t Opp. at 12. So what? The statements still reflect the

arbitrary treatment of Concord. Who else did the Special Counsel and the Attorney General

publicly declare guilty—other than Concord and some other Russians? By marked contrast, the

government devotes substantial attention to the prejudicial public statements made by other

government actors that Concord identified (ECF 210 at 12–14)—including the Secretaries of

Treasury and State.    Gov’t Opp. at 12–14.       The government’s principal response to these

statements is that they did not violate the Court’s May 29, 2019 order, because they were not

made “by lawyers representing the government in this case.” Id. at 13.

       But the Court’s May 29 order is not so restricted—it applies to the “government.” ECF

137 at 1. Moreover, whether or not those statements violated the Court’s order or its rules, the

evidence of arbitrariness remains—a concerted effort by the Executive Branch to “convict”

Concord in the court of public opinion before a single witness is heard at trial. And this injustice

is about to get a whole lot worse because this Court has ordered that Congress will have access to



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the grand jury materials supporting the Indictment in this case, meaning we are just a very small

step away from those materials being selectively made public for political purposes.1

       Fifth, moving along the spectrum of absurdity, the government not only denies that its

allegations against Concord have been a moving target—it goes so far as to say it “has

consistently articulated a single theory of criminal liability” and that it’s Concord that has

changed its position. Gov’t Opp. at 14. Huh? As Concord’s detailed recitation of the dizzying

history of the government’s theories and interpretations in this case makes clear, the

government’s assertion that it has stuck to a “single theory” is not credible. ECF 210 at 14–19.

The government’s accusation that it is Concord that has changed its “position” not only is wrong,

it ignores that undersigned counsel has merely done its best to try to comprehend and keep up

with the government’s own constant shifting and moving. Concord cites specifically to the

words written and spoken by the prosecutors. Id. at 15–19, 29. Since the government cannot

deny its own words, it instead engages the Court and Concord in a game of suggesting that those

words have some other meaning than would be gathered by any reasonable person reading or

hearing them.

       Sixth, the government’s resort to absurdity reaches its height when it claims that

Concord’s arguments aimed at the government’s shifting theories and formulations of its

allegations—including those conveyed in its bills of particulars—are nothing more than

“complain[ts] that by giving [Concord] a more detailed preview of the government’s factual and

legal theories, the government has acted arbitrarily and deprived Concord of the process to which



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     See In re Application of the Committee on the Judiciary, U.S. House of Representatives, for
an Order Authorizing the Release of Certain Grand Jury Materials, No. 19-48 (BAH), 2019 WL
5535218, at *3 (D.D.C. Oct. 25, 2019) (repeating that the Mueller Report concluded that the
social media campaign was part of a Russian government operation).


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it is due.” Gov’t Opp. at 15. But a “more detailed preview” in a bill of particulars is not a gift

that the prosecutors unilaterally granted; in fact, they opposed it. Nor is it a constitutionally

adequate substitute for an indictment, capable of filling holes or ambiguities in an indictment’s

terms. ECF 210 at 17 (citing cases). And a “preview” that deviates from the indictment—as the

government’s “preview[s]” repeatedly have done in this case—is a constitutional violation of the

Fifth Amendment’s grand-jury presentment clause which, in its own right, points to arbitrary

conduct. Far from doing Concord a favor, the government’s evasive tactics seek to accomplish

only one thing:    undermining Concord’s ability to defend itself, and assuring a trial and

conviction.

       C.      The Supreme Court’s Decision In Rehaif Compels A Re-Examination Of The
               Mens Rea Requirement.

       Concord separately argued in its renewed motion that, based on Rehaif v. United States,

139 S. Ct. 2191 (2019) and United States v. Burden, 934 F.3d 675 (D.C. Cir. 2019), the Court

should revisit its preliminary mens rea ruling. ECF 210 at § V.B.2 Concord contends that those

cases, and the principles they espouse, require the government in this case to allege and prove

that Concord knew its status as a foreign-national corporation imposed specific disclosure and

registration duties on Concord that it was obligated, on pain of criminal sanction, to carry out;

and, further, that Concord knew about the specific FECA and FARA statutes and regulations

invoked when it acted. Id. The government does not take this argument seriously either. But

avoidance does not dispel what the controlling law now compels.


2
      The Court previously found that the mens rea issue would be later addressed in litigation
over the jury instructions. See United States v. Concord Mgmt. & Consulting LLC, 347 F. Supp.
3d 38, 57 (D.D.C. 2018) (“Concord will have further opportunities—with jury instructions and in
trial and post-trial motions, if any—to ensure that the government proves enough knowledge to
support a specific intent to thwart at least one of the three government functions alleged in the
indictment.”).


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       Rehaif, as Concord explained, calls for rigorous scrutiny of criminal charges and strict

application of mens rea requirements where, as alleged, there is a serious risk of ensnaring

innocent conduct. ECF 210 at 32–36. Because that risk in this case is high, the mens rea burden

on the government must be proportionately high. And Burden, for its part, reinforces this aspect

of Rehaif and what it requires in this case. Id. at 38–39. Rehaif also provides important clarity

on the ignorance of the law defense and its continued vitality where, as here, knowledge of a law

or legal requirement goes to a very element of the criminal offense. Id. at 32–33, 37–40.

       The government simply relies on the argument that these cases do not apply because

§ 371 itself does not spell out the mental state required for a fact pattern like the one the

government has charged and advanced here. But the need for a strict mens rea showing is a

fundamental principle of criminal law, necessary to ensure that only blameworthy conduct is

criminalized. ECF 210 at 35–37. On its own, the basic statement of a § 371 defraud conspiracy

such as the one the government repeatedly incants—that “Concord knowingly conspired to

impair lawful government functions through deceptive means” (Gov’t Opp. at 19)—does not

conceivably provide fair warning to Concord of what is or was illegal in this case. Moreover, the

word “knowingly” does not appear in § 371 either; and the government would not dare argue that

such an absence means that the statute creates strict liability.

       In certain kinds of defraud-conspiracy cases, where the illegality of the underlying

conduct is apparent and a reasonable person would know that, a willfulness element is

unnecessary. But here, it was far from reasonably clear at the time Concord allegedly acted that

what it was allegedly doing—conspiring to interfere with the government functions of obtaining

disclosures and registrations relating to elections—was criminal.      Due process imparts the

principle in these circumstances that the defendant should have fair warning of what the law



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prohibits.   ECF 210 at 40–45.      Requiring willfulness, that is, knowledge of the specific

prohibitions, as part of the charge and the burden of proof bridges this due process gap. If that

burden is met, then it becomes reasonably clear that the defendant did know. The case brought

here is no different from, for example, an American posting on social media a nude selfie that is

later viewed over the internet in a foreign country that deems that American to have violated its

local obscenity laws—which, of course, the American had no knowledge of. Or, what if an

American posts on the internet criticism of a Chinese policy that is later viewed in China and

determined to be a threat to its own national security? Is the U.S. government going to permit

the extradition of these Americans to an unknown fate in a foreign land?

       For these reasons, all defraud conspiracies cannot be viewed as fungible, and no case says

they should be. Remarkably, the government doesn’t deny that it is seeking a conviction without

proving Concord was aware of the relevant duties. Instead they admit it. But where the “lawful”

government function lies, as in this case, in obscure statutory provisions, and acts of non-

disclosure or omission related to those provisions are involved, an awareness of the statutes

should be required as a matter of due process. ECF 210 at 40–45. That is because where an act

of non-disclosure and omission is concerned and the defendant does not know his or her failure

to act is unlawful, there is no way to avoid the adverse consequences. The defendant does not

know what conduct is forbidden. These are the central lessons of Lambert v. California, 355

U.S. 225 (1957) (discussed at ECF 210 at 42)—another case the government’s opposition

noticeably omits.3




3
     The government ignores most of the other authorities Concord cites in its discussion of mens
rea, including relevant, recently decided § 371 defraud conspiracy and criminal FARA cases in
this Court and the Eastern District of Virginia. ECF 210 at 37 (citing United States v. Rafiekian,
                                                                                      (continued)
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        As Burden would say, mens rea needs to be “calibrated” to the statutes that are involved.

938 F.3d at 690. What is required depends on the particular circumstances of the case and

conspiracy alleged. There can be willfulness in doing the act, but sometimes a requirement must

be added that one knows its act violates the law. Rehaif is to the same end. Heightened scienter

requirements are imposed to ensure that a defendant understands the wrongful nature of its

alleged act. A “mature system of law” reads this requirement in as necessary in the case at hand.

Rehaif, 139 S. Ct. at 2196 (citation omitted).

        These are the principles that drove the Supreme Court in Rehaif—as Concord’s motion

lays out in detail. ECF 210 at 32–40. But one would not know any of this from reading just the

government’s opposition.       It provides a technically accurate, but substantially incomplete,

description of Rehaif, see Gov’t Opp. at 16, ignoring outright the Court’s overarching focus there

on the mens rea function of sparing innocent conduct from the reach of a criminal statute and its

discussion of the limits on the maxim that ignorance of the law is no excuse—and further

ignoring how all of this impacts this Court’s prior mens rea analysis in this case. It is those

particular aspects of Rehaif, though, that make it so critically important to the mens rea issue

here, and why its reasoning should compel reconsideration of the government’s burden of proof

on that question is in this case.

        Instead of grappling with these critical aspects of Rehaif, the government resorts once

again to misdirection and mischaracterization. It claims, for example, that “Concord would

apparently extract from [Rehaif] a newly established rule that courts must read willfulness

requirements into statutes where none exist.” Gov’t Opp. at 16. As Concord’s motion—and



No. 1:18-cr-457-AJT-1, 2019 WL 4647254 (E.D. Va. Sept. 24, 2019)); id. at 42 (citing United
States v. Craig, No. 1:19-cr-00125-ABJ, 2019 WL 3604630 (D.D.C. Aug. 8, 2019)).


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Rehaif itself—make clear, however, there’s nothing “newly established” about reading a mens

rea requirement into a criminal statute that does not provide for one. ECF 210 at 39; Rehaif, 139

S. Ct. at 2195. Nor, obviously, is Concord claiming some broad and universal rule “that courts

must read willfulness requirements into statutes where none exist.”         As noted, Concord’s

argument is far narrower and case-specific—that willfulness is required in this particular § 371

defraud conspiracy case based specifically on the way the Indictment is structured and what the

prosecution has alleged.

       The government also attempts to confine Rehaif to instances where the criminal statute at

issue requires proof of one’s “status.” Gov’t Opp. at 16–17. That is not even close to a credible

reading of Rehaif. The Supreme Court’s holding there is that mens rea must be shown as to each

element of a criminal statute—whether it’s one’s status, any other element, or, as here, whether

one (i) has knowingly engaged in deception that one (ii) knows interferes with a lawful

government function. See Rehaif, 139 S. Ct. at 2194.

       The government is well wide of the mark, too, when it says Rehaif “distinguished” the

very arguments it claims Concord is making: “that Rehaif required some combination of a

willful intent when entering the conspiracy and knowledge of FECA and FARA” and that

Concord “cannot be held liable because it was unaware of the law regulating its conduct.” Gov’t

Opp. at 17. The government says that these arguments are blocked by Rehaif because Rehaif

says that “where a defendant has the requisite mental state in respect to the elements of the crime

but claims to be ‘unaware of the existence of the statute proscribing his conduct.’” Id. In other

words, according to Rehaif, mere ignorance of the “statute proscribing [one’s] conduct” and

under which he is criminally charged is not a defense.

       This is all just more government garbage. As indicated, this reference from Rehaif was



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addressing the typically unsuccessful argument that, even when one has the requisite mens rea as

to each element of a statutory offense, one cannot be culpable unless he or she actually knows

about the statute that creates the offense—i.e., that one has to know about the law he or she has

allegedly violated. That is the classic case for applying the maxim that ignorance of the law is

no excuse.

       But Concord is not arguing that the government must prove Concord knew about § 371

and its defraud conspiracy clause—the “statute proscribing [its alleged] conduct” here. Rather,

Concord’s argument is right in line with Rehaif and the recognized ignorance of the law

defense—that the government must show that had knowledge as to the “lawful government

function” element of the § 371 defraud conspiracy offense, and that knowledge has to include

knowledge of the laws that give rise to the “functions” allegedly interfered with. That is what

Rehaif speaks to directly—the need to prove knowledge as to each statutory element. Where a

defendant lacks knowledge that goes directly to a statutory element on which the government

bears the burden of proof, the law forbids him from being criminally punished. And again, the

government desperately tries to rebut a reasonable interpretation of Rehaif because everybody

now knows that no such evidence of that knowledge exists here. The government has completed

discovery and there is not one iota of evidence that Concord or any other alleged co-conspirator

was aware that their status as a foreign national created arguable duties under U.S. law to three

agencies within the U.S. government.

       The government is not done, though. It proceeds to claim that “Concord would appear to

seek a per se requirement that it must have known details of the statutory provisions

administered by the government to have conspired to obstruct the government functions at all.”

Gov’t Opp. at 17. “Per se” is just silly because Concord argues nothing of the sort. What it does



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argue—as it has previously—is that in this case, as the government has charged it (and

reinvented it), Concord must have known of the duties that the statutory provisions arguably

created and the exercise of which it allegedly interfered.       And these foreign-national co-

conspirators must have known of these duties despite the government never previously charging

even one single similarly-situated defendant with the same charge. Rehaif, among other binding

precedents, supports precisely this type of knowledge here, focused as it is on the particulars of

the underlying statutory scheme giving rise to the “functions” supposedly obstructed and the

allegations at issue, and the need for a heightened mens rea where, as here, that is necessary to

ensure that innocent conduct is not punished. See generally ECF 210 at § V.B.

       In its final rhetorical flourish, the government even goes so far as to say that § 371

“prohibits conspiring to impair the government through deceptive means, rather than any

particular conduct or violation of any particular legal framework.” Gov’t Opp. at 17. But that is

both wrong and beside the point. It is wrong because mere impairment of “the government,”

without any reference to “any particular conduct or violation of any particular legal framework,”

is not enough and rightly would never pass constitutional muster, much less a fair statutory

construction tied to controlling § 371 precedent. See, e.g., United States v. Caldwell, 989 F.2d

1056, 1059 (9th Cir. 1993) (noting that § 371’s defraud clause does not “make it a federal crime

to do anything, even that which is otherwise permitted, with the goal of making the

government’s job more difficult”), overruled on other grounds by Neder v. United States, 527

U.S. 1, 8–9 (1999). And it is beside the point because the case the government has brought here

against Concord—predicated, as it appears to be, on the “particular legal framework[s]” created

by FECA and FARA and disclosure and registration duties flowing therefrom—would indeed

require such a showing before Concord could be convicted of a crime. The government cites no



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case that says otherwise.

         When Burden is considered, moreover, there is still more evasion. The government

focuses on the fact that in Burden, the jury was given a willfulness instruction, as the criminal

statute at issue required. Gov’t Opp. at 18. But Concord does not dispute any of that and it is

not relevant to the arguments Concord actually makes. Burden matters for the same reason

Rehaif matters—it reinforces the critical need to ensure a guilty mind is shown as to each

statutory element and that innocent conduct is not caught up in a criminal dragnet. ECF 210 at

33–34.

         The government closes by cramming Concord’s due process and fair notice arguments

into a few generic sentences in the final paragraph of its brief, claiming that any due process

concerns are assuaged by the fact that the government has charged a § 371 defraud—not

offense—conspiracy, and assuring that Concord’s due process rights will be fully protected at

trial. Gov’t Opp. at 19. This hardly does justice to these serious concerns here, jeopardized in

the extreme by the government’s arbitrary prosecutorial and associated tactics against Concord

over the past 20 months—with no signs of abating.




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Dated: October 28, 2019                  Respectfully submitted,

                                         CONCORD MANAGEMENT
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